         Case 17-04699-CL13              Filed 03/01/19       Entered 03/04/19 16:19:44            Doc 61    Pg. 1 of 2
CSD 1159A [11/15/04]
Name, Address, Telephone No. & I.D. No.
DARLENE C. VIGIL - CA NO. 223442
BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
20955 Pathfinder Road,Suite 300                                                                     March 4, 2019
Diamond Bar, CA 91765         File No. 7440944
P: (626) 915-5714; F: (972) 661-7726
E-mail: sdcaecf@BDFGroup.com

             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
      325 West "F" Street, San Diego, California 92101-6991

In Re
STEPHEN J. LEWIS, aka Stevan J. Lewis,
                                                                                  BANKRUPTCY NO.   17-04699-CL13
SHELLY L. LEWIS, fka Shelly L. Johansen                       Debtor.

HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR WELLS FARGO ASSET
SECURITIES CORPORATION, MORTGAGE PASS-THROUGH CERTIFICATES SERIES                 RS NO.   EAT-1
2006-AR11                                                  Movant(s)


STEPHEN J. LEWIS, SHELLY L. LEWIS, THOMAS H. BILLINGSLEA,                         Date of Hearing: April 25, 2018
TRUSTEE, ROBERT THOMAS and SAN DIEGO COUNTY, Lienholders                          Time of Hearing: 2:00 PM
                                                              Respondent(s)       Name of Judge: Hon. Christopher   B. Latham


                                     ORDER ON
      DECLARATION RE FAILURE TO CURE POST-PETITION DEFAULT PURSUANT TO TERMS
                 OF ORDER ON STIPULATION RE: ADEQUATE PROTECTION


           IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and numbered two (2)

 through     2    with exhibits, if any, for a total of   2   pages, is granted. Motion/Application Docket Entry No.      32

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 DATED:          March 1, 2019
                                                                        Judge, United States Bankruptcy Court


 Signature by the attorney constitutes a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Submitted by:

  BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
 (Firm name)


 By: /s/ Darlene C. Vigil
   Attorney for ✔ Movant             Respondent


CSD 1159A
          Case 17-04699-CL13                      Filed 03/01/19             Entered 03/04/19 16:19:44     Doc 61      Pg. 2 of 2
CSD 1159ADECLARATION
            [11/15/04](Page 2)
                     RE FAILURE TO CURE POST-PETITION DEFAULT PURSUANT TO TERMS
ORDER ON OF ORDER ON STIPULATION RE: ADEQUATE PROTECTION
        STEPHEN J. LEWIS, aka Stevan J. Lewis,
DEBTOR: SHELLY L. LEWIS, fka Shelly L. Johansen                                                          CASE NO: 17-04699-CL13
                                                                                                         RS NO.: EAT-1

   The court having considered the Declaration Re: Failure to Cure Post-Petition Default pursuant to terms of Order on
Stipulation Re: Adequate Protection filed on March 1, 2019, as Document No. 60, and good cause appearing it is

   ORDERED, ADJUDGED AND DECREED that the automatic stay imposed by 11 U.S.C. Section 362(a) shall be and is
hereby terminated as to Movant, HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR WELLS FARGO ASSET
SECURITIES CORPORATION, MORTGAGE PASS-THROUGH CERTIFICATES SERIES 2006-AR11, its successor and/or
assigns, thereby permitting the enforcement of its contractual default remedies against the security described in that certain
Deed of Trust recorded on May 3, 2006, as Instrument No. 2006-0311215, in the Office of the County Recorder of San Diego
County, CA, encumbering that certain real property commonly known as 3975 VIA PALO VERDE LAGO, ALPINE, CA 91901,
and legally described as follows:

THE LAND REFERRED TO IS SITUATED IN THE UNINCORPORATED AREA OF THE COUNTY OF SAN DIEGO, STATE
OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL A

LOT 42 OF PALO VERDE RANCH EAST, IN THE COUNTY OF SAN DIEGO, STATE OF CALIFORNIA, ACCORDING TO
MAP THEREOF NO. 6929, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY, MAY 9, 1971,

PARCEL B:

AN EASEMENT FOR INGRESS AND EGRESS OVER, ALONG AND ACROSS THAT PORTION OF LOT 43 OF PALO
VERDE RANCH EAST, IN THE COUNTY OF SAN DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP THERE OF
NO.6929, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY, MAP 9, 1971, DESCRIBED AS
FOLLOWS:

BEGINNING AT THE NORTHEASTERLY CORNER OF LOT 44 OF SAID MAP NO. 6929; THENCE ALONG THE
NORTHERLY LINE OF SAID LOT 43; NORTH 80 DEG 00' 00" EAST, 30.00 FEET TO THE NORTHEASTERLY CORNER
THEREOF; THENCE ALONG THE EASTERLY LINE OF SAID LOT 43, SOUTH 10 DEGREE 00" 00" EAST, 380.00 FEET;
THENCE LEAVING SAID EASTERLY LINE,, NORTHWESTERLY IN A STRAIGHT LINE TO THE SOUTHEASTERLY
CORNER OF SAID LOT 44; THENCE ALONG THE EASTERLY LINE OF SAID LOT 44; NORTH 10 DEGREE 00' 00" WEST
345.00 FEET TO THE POINT OF BEGINNING.

    IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Movant shall be and is hereby authorized to enforce its
rights and remedies under applicable non-bankruptcy law with regard to the above collateral, all in accordance with the law of
the State of California.

   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that upon entry of this order, any proof of claim previously filed
by or on behalf of Movant for the obligations secured by the above described deed of trust shall be deemed withdrawn, and the
trustee shall be relieved from any further obligation to make payments thereon. Any post-petition foreclosure claim for any
deficiency during the pendency of this bankruptcy case may be made by filing a Proof of Claim in this case.

  IT IS FURHTER ORDERED, ADJUDGED AND DECREED that the 14-day stay described by Bankruptcy Rule 4001(a)(3) is
waived.




CSD 1159A
                                                                                          Signed by Judge Christopher B. Latham March 1, 2019
